               1:23-cv-8501 (RPK) (JRC)

               UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF NEW YORK

               L.B., individually and on behalf of
               her minor child, Kyle, proceeding
               under a pseudonym,
                                                                  Plaintiffs,


                                        -against-

               The City of New York; Jess Dannhauser, in
               his official capacity as Commissioner,
               Administration for Children’s Services of
               the City of New York (“ACS”); Ariel
               Semper, Nadine Cenord, Bernadette Jean-
               Louis, Donna McFadden, Ana Costa,
               Taiesha Coleman, and Leydi Taveras, each
               individually and in their official capacity as
               ACS Child Protective Specialists,
                                                                Defendants.


                 REPLY MEMORANDUM OF LAW IN FURTHER
                SUPPORT OF DEFENDANTS’ PARTIAL MOTION
                   TO DISMISS THE AMENDED COMPLAINT


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DATE OF SERVICE: JUNE 13, 2024
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                                PRELIMINARY STATEMENT

               Defendants City of New York (the “City”) and Jess Dannhauser, in his official

capacity as Commissioner of the Administration for Children’s Services of the City of New York

(“ACS” and, collectively with the City, the “City Defendants”) as well as Defendants Ariel

Semper, Nadine Cenord, Bernadet Jean-Louis, Donna McFadden, Ana Costa, Taiesha Coleman,

and Leydi Taveras individually and in their official capacity as ACS Child Protective Specialists

(collectively, the “Individual Defendants”) respectfully submit this memorandum of law in

further support of their motion to partially dismiss Plaintiffs’ Amended Complaint (“AC”) dated

April 24, 2024 (ECF No. 37) and in response to Plaintiffs’ Memorandum of Law in Support of

Plaintiffs’ Opposition to Defendants’ Partial Motion to Dismiss the Amended Complaint dated

June 5, 2024 (the ”Opposition” or the “Opp.”).

                                          ARGUMENT

                                             POINT I

                       PLAINTIFFS FAIL TO STATE A SECTION
                       1983 SUBSTANTIVE DUE PROCESS CLAIM

               In their opening submission, Defendants’ noted, inter alia, that Plaintiffs’ Section

1983 claim for the alleged violation of their substantive due process rights amounts to an

impermissible restyling of their Fourth Amendment claims and that the AC fails to adequately

allege any “state action … specifically intended to interfere with [Plaintiffs’] family relationship”

sufficient to state a Fourteenth Amendment familial association claim. Gorman v. Rensselaer

Cnty., 910 F.3d 40, 48 (2d Cir. 2018). In response, Plaintiffs make meritless arguments in an

effort to distinguish their substantive due process claim from their Fourth Amendment claims

predicated on the same allegations and attempt to evade pleading requirements they cannot

satisfy. Accordingly, Plaintiffs’ substantive due process claim should be dismissed.



                                                 1
           A.       The AC Does Not Allege a Cognizable Substantive Due Process Claim

                    The Court should dismiss Plaintiffs’ Twenty-Third Cause of Action (“CoA 23”)

because Plaintiffs cannot invoke the protections of substantive due process where “a more

specific constitutional standard is directly applicable” to the gravamen of the claim. Jackson v.

Suffolk Cty., 87 F. Supp. 3d 386, 399 (E.D.N.Y. 2015). 1 It is well established that “[s]ubstantive

due process analysis is inappropriate” when a “claim is ‘covered by’ the Fourth Amendment.”

Cty. of Sacramento v. Lewis, 523 U.S. 833, 843 (1998). In their Opposition, Plaintiffs state that

“Ms. B.’s” substantive due process cause action centers on allegations of impermissible “body

exams of Kyle” and “seizures of Kyle at his school,” Opp at 14 (emphasis added) and do not

seriously dispute (they cannot) that these allegations also underpin Fourth Amendment claims

Plaintiff L.B. has brought on behalf of her son, Plaintiff Kyle. Opp at 14 (acknowledging that

L.B. is “assert[ing] Fourth Amendment claims on behalf of her minor child”). Plaintiffs insist,

however, that, because “any Fourth Amendment claim related to ACS’s unlawful seizures of

Kyle are Kyle’s claims, not Ms. B’s claims,” “Ms. B’s substantive due process claim is not based

on the same allegations that support her Fourth Amendment claims” such that “it is not

duplicative and should not be dismissed.” Opp. at 14-15 (emphasis added). Plaintiffs’ argument

is unavailing.

                    As a preliminary matter, CoA 23 alleges deprivations of both L.B.’s and Kyle’s

liberty interests. See AC ¶ 353 (alleging ”Defendants’ deprived … Kyle of his right to be cared

for, guided and protected by his mother”). It follows, that Plaintiffs’ rationale for the viability of

L.B.’s substantive due process claim amounts to tacit admission that that she cannot assert CoA




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    Internal quotation marks and citations omitted throughout except where otherwise indicated.



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23 on Kyle’s behalf. As a result, the Court should, at a minimum, dismiss CoA 23 to the extent

it purports to assert a claim on Kyle’s behalf.

                More importantly, the Court should reject the assertion that framing CoA 23 as a

substantive due process claim, notwithstanding the clear directive that “[s]ubstantive due process

analysis is inappropriate” when a “claim is ‘covered by’ the Fourth Amendment,” L.B may

evade Fourth Amendment standing requirements the Opposition concedes she cannot satisfy,

while asserting (on her son’s behalf) that the alleged misconduct underpinning that claim

squarely implicates the Fourth Amendment. Cty. of Sacramento v. Lewis, 523 U.S. 833, 843

(1998).   Indeed, while it appears the Second Circuit has not addressed this precise issue

definitively, the Fifth Circuit dismissed a parental substantive due process claim based on an

allegedly improper search and seizure of the parent Plaintiffs’ daughter in Roe v. Tex. Dep't of

Protective & Regulatory Servs., 299 F.3d 395, 411 (5th Cir. 2002). In Roe, the panel concluded

the parents’ standing to invoke the Fourth Amendment on their daughter’s behalf meant that

“[t]he Fourth Amendment offered … [her] complete protection” from the challenged conduct,

and the court could not “consider [the parents’] substantive due process rights to family

association and bodily integrity.” Roe, 299 F.3d at 411. Roe’s reasoning applies with equal

force in this case where, as in Roe, L.B. has asserted Fourth Amendment claims on her child’s

behalf that fully embrace the allegations underpinning the substantive due process claim brought

in her own name. See AC ¶ 352 (realleging all allegations alleged in connection with Plaintiffs’

Fourth Amendment claims in support of CoA 23). Accordingly, Defendants respectfully submit

that the Court should adopt the Fifth Circuit’s analysis and dismiss CoA 23 for the reasons set

forth in Roe.




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       B.      Circuit Law Requires Plaintiffs to Adequately Allege Defendants Engaged in
               Conduct Specifically Intended to Interfere with their Family Relationship

               Plaintiffs’ failure to adequately allege a Fourteenth Amendment familial

association claim also warrants the dismissal of Cause of Action 25. In Gorman, the Second

Circuit made clear that state action with an “incidental[]” impact on the family cannot support a

Section 1983 substantive due process claim for the “infringement of the right to familial

associations.” 910 F.3d at 48. To state a familial associations claim, Plaintiffs must allege “state

action … specifically intended to interfere with [a] family relationship.” Id. As explained in

Defendants’ initial filing and discussed further in the following section, the AC altogether lacks

plausible allegations of the type of intentional state interference in Plaintiffs’ family relationship

required to maintain a familial association claim under Gorman, a point the Opposition all but

concedes. Instead, Plaintiffs argue that Gorman does not require them to allege that Defendants’

engaged in conduct specifically intended to disrupt Plaintiffs’ relationship because Gorman did

not address claims, like CoA 23, predicated on the parental liberty interest in the “the care,

custody, and control” of their child discussed in the Court’s decision in Troxel v. Granville, 530

U.S. 57, 65 (2000). Plaintiffs’ attempt to limit Gorman to claims implicating “the right to

intimate familial association”, assertedly “a separate and distinct liberty interest” purportedly

stemming “from more recent jurisprudence.” Opp. at 13. Plaintiffs’ argument fails because the

asserted distinction between CoA 23 and the claim at issue in Gorman has no bearing on

Plaintiffs’ obligation to satisfy Gorman’s requirements and the Opposition fails to substantiate

the asserted distinction between the two claims.

               First, even assuming a protected parental liberty interest in “the care, custody, and

control” of children distinct from the liberty interest in familial association exists, Gorman would

apply to any substantive due process claim for the alleged violation of such distinct interest. The



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Second Circuit’s holding that only state interference specifically intended to disrupt family

relationships will suffice to support a substantive due process claim rested on the conclusion that

the “Court has never extended the constitutionally protected liberty interest incorporated by the

Fourteenth Amendment due process clause to encompass deprivations resulting from

governmental actions affecting the family only incidentally.” Gorman, 910 F.3d at 48. It follows

that, under circuit law, intentional state action targeting the liberty interest allegedly infringed

forms an essential part of any substantive due process claim for unconstitutional interference

with protected interests in family relationships, including the interest in the care, custody, and

control of children discussed in Troxel. Accordingly, Plaintiffs’ failure to satisfy Gorman

warrants dismissal of CoA 23 for failure to state a claim.

               Moreover, the Opposition fails to substantiate the Plaintiffs’ claimed distinction

between the family-related liberty interests discussed in Troxel and Gorman, respectively.

Indeed, the Second Circuit cautioned that the parental liberty interest in the care, custody and

control of children discussed in Troxel defies delineation because the “Court [has] left the scope

of that right undefined.” We the Patriots United States v. Conn. Office of Early Childhood Dev.,

76 F.4th 130, 159 (2d Cir. 2023). It follows that the Court should reject Plaintiffs’ baseless

suggestion that Troxel describes a distinct and cohesive set of liberty interests beyond the scope

of the requirements set forth in Gorman.

       C.      Plaintiffs Fail to Plead Facts Sufficient to State a Substantive Due Process
               Claim

               As discussed above, the Opposition scarcely suggests that the AC plausibly

alleges facts sufficient to state a substantive due process claim for the violation of a family-

related liberty interest under Gorman as they must for CoA 23 to survive. Plaintiffs devote only

two brief sentences in a footnote, unaccompanied by supporting authority, to the assertion that



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two paragraphs of the AC, collectively referencing a single Defendant by name, suffice to satisfy

Gorman. See Opp. at 14, n.2. Plaintiffs’ arguments are unavailing.

               First, Plaintiffs’ assertion that the AC plausibly alleges the Defendants’ that

engaged in conduct specifically intended to disrupt Plaintiffs’ family relationship is meritless.

The Opposition cites two paragraph of the AC, paragraphs 36 and 116, that purportedly contain

sufficient allegations of Defendants’ alleged efforts to “drive a wedge” between Plaintiffs and

disrupt their family relationship. See Opp. at 14, n.2. Plaintiffs are incorrect. First, the high-level

summary of Defendants’ alleged misconduct in paragraph 36 fails to identify the specific

individuals involved or the specific steps each of the respective Defendants allegedly took with

the specific intent to undermine Plaintiffs’ relationship. See, e.g., Polardo v. Adelberg, 2023 U.S.

Dist. LEXIS 53219, at *21 (S.D.N.Y. Mar. 28, 2023) (no personal involvement where plaintiff

relied on “group pleading”). In contrast, paragraph 116 relates exclusively to one alleged

interaction with a single Defendant, Ana Costa. It follows that the Opposition does not identify

any allegations that the Plaintiffs assert suffice to plausibly allege the remaining Defendants’

“personal involvement in the alleged constitutional deprivations” underpinning Plaintiffs’

substantive due process claim. Zdziebloski v. Town of E. Greenbush, 336 F. Supp. 2d 194, 201-

02 (N.D.N.Y. 2004).

               In addition, paragraph 116 of the AC does not plead sufficient facts suggesting

that Costa’s alleged disruption of Plaintiffs’ relationship resulted from steps Costa took with the

specific intent to drive a wedge between Plaintiffs rather than as a byproduct of activities Costa’s

in connection with the investigation connection of a report of child abuse or neglect (“SCR”)

conveyed to ACS. See AC ¶ 116. Indeed, as explained in Defendants’ initial submission, the

thrust of the AC—that ACS personnel employ coercive tactics to expedite the completion of




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SCR investigations—undercuts the plausibility of Plaintiffs’ conclusory suggestion that Costa, or

any other Defendant, took the time to make a concerted effort to disrupt Plaintiffs’ relationship.

See Schvimmer v. Randall, 2022 U.S. Dist. LEXIS 177908, at *36 (E.D.N.Y. Sept. 29, 2022)

(courts do not need to “accept as truth conflicting pleadings that make no sense, or that would

render a claim incoherent, or that are contradicted either by statements in the complaint itself or

by documents upon which its pleadings rely, or by facts of which the court may take judicial

notice.”); see also Albert v. City of N.Y., No. 17-cv-3957-ARR-SMG, 2019 U.S. Dist. LEXIS

136428, at *12 (E.D.N.Y. Aug. 13, 2019).

               In short, the AC does not plead facts sufficient to state a substantive due process

claim against any of the Individual Defendants. Accordingly, CoA 23 should be dismissed with

respect to all Individual Defendants.

                                            POINT II

                      PLAINTIFFS FAIL TO STATE A SECTION
                      1983 PROCEDURAL DUE PROCESS CLAIM

               As explained in Defendants’ opening submission, “Plaintiff[s] cannot assert a

claim based on [an] illegal search” or seizure “pursuant to the due process clause of the

Fourteenth Amendment” because “[t]he Fourth Amendment covers constitutional claims of

search and seizure…” Mason v. Lax, No. 3:20-CV-00039 (KAD), 2020 U.S. Dist. LEXIS 70799,

at *5-6 (D. Conn. Apr. 22, 2020). Plaintiffs’ Opposition does not assert any counterarguments

specific to Defendants’ arguments in support of the dismissal of Plaintiffs’ procedural due

process claim. Plaintiffs simply make reference asserted in Opposition to the dismissal of CoA

23. As discussed in the proceeding section, Plaintiffs’ arguments asserted in support of CoA 23




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                                            POINT III

                       THE INDIVIDUAL DEFENDANTS ARE
                       ENTITLED TO QUALIFIED IMMUNITY
                       WITH RESPECT TO PLAINTIFFS DUE
                       PROCESS CLAIMS

               In their Opposition, Plaintiffs’ principal grounds for arguing that Qualified

Immunity does shield the Individual Defendants from liability in connection with Plaintiffs’ due

process claims centers on the purported antiquity of parental liberty interest in the care, custody

and control of children discussed in Troxel discussed above. As explained in Section I.B,

however, the nominal age of the liberty interest discussed in Troxel because, as the Second

Circuit explained in a 2023 decision, the liberty interest remains essentially undefined. See

Doniger v. Niehoff, 642 F.3d 334, 353 (2d Cir. 2011) (“The relevant, dispositive inquiry in

determining whether a right is clearly established is whether it would be clear to a reasonable

official that his conduct was unlawful in the situation he confronted”).

                                            POINT IV

                       PLAINTIFFS HAVE NOT PLED SUFFICIENT
                       FACTS TO STATE A CLAIM FOR
                       MUNICIPAL LIABILITY WITH RESPECT
                       TO THEIR DUE PROCESS CLAIMS

               Finally, the Plaintiffs’ fail to allege sufficient facts to state claims for municipal

liability in connection with their substantive and procedural due process claims. As discussed in

Section I and II, supra, the AC fails to adequately allege that any of the Individual Defendants

violated Plaintiffs due process rights, such that no basis exists to impose municipal liability in

connection with Plaintiffs’ due process claims. See Segal v. City of New York, 459 F.3d 207, 219

(2d Cir. 2006) (“Because the district court properly found no underlying constitutional violation,

its decision not to address the municipal defendants’ liability under Monell was entirely


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correct.”). Moreover, as explained in Defendants’ opening brief, the AC does not identify a City

policy or practice plausibly connected to the due process violations Plaintiffs allege as they must

to maintain a Monell claim. Arrington v. City of New York, 628 F. App’x 46, 50 (2d Cir. 2015)

(summary order) (affirming dismissal of Section 1983 claims against the City because plaintiff

“did not plead any facts in his complaint … that would support a finding that these alleged

violations resulted from a municipal policy”).

                For example, the AC does not contain any allegations of a City policy directing

the Individual Defendants to engage in conduct intended specifically to disrupt Plaintiffs’ family

relationship.   See, e.g., AC ¶¶ 362-370. Plaintiffs’ Opposition does not suggest otherwise.

Rather, Plaintiffs’ simply reassert the meritless assertion that Gorman does not require them to

plausibly allege intentional state action specifically intended to interfere with Plaintiffs’

relationship to maintain a their substantive due process claim.

                Accordingly, Plaintiffs’ due process claims should be dismissed with respect to

the City Defendants as well.




                                                 9
                                      CONCLUSION

              Based on the foregoing, Defendants respectfully request that the Court grant

Defendants’ Partial Motion to Dismiss the Complaint.

Dated:        New York, New York
              June 13, 2024
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